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                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
                            SAN FRANCISCO DIVISION



IN RE: FACEBOOK, INC. CONSUMER                     CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION,
                                                   NOTICE OF CHANGE IN COUNSEL

This document relates to:

ALL ACTIONS




                                NOTICE OF CHANGE IN COUNSEL
                                 CASE NO. 3:18-MD-02843-VC
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       PLEASE TAKE NOTICE THAT, pursuant to Local Civil Rule 5-1(c)(2)(C),

Robert C. Blume hereby withdraws as an attorney of record for Defendant Facebook, Inc. in this

action. Counsel of record for Defendant otherwise remain the same.


Dated: June 13, 2022

                                           By:    _____/s/ Robert C. Blume______________
                                                  Robert C. Blume (pro hac vice pending)




                                 NOTICE OF CHANGE IN COUNSEL
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                                SIGNATURE ATTESTATION

       Pursuant to Local Rule 5-1(i)(3), I attest that concurrence in the filing of this document

has been obtained.

Dated: June 13, 2022                                        By: /s/ Russell Falconer
                                                                   Russell Falconer




                                   NOTICE OF CHANGE IN COUNSEL
                                    CASE NO. 3:18-MD-02843-VC
